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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA                     §
                                             §
v.                                           §         4:20-CR-446
                                             §
YAVONNE HAND                                 §

                 UNOPPOSED MOTION TO APPEAR BY TELEPHONE

TO THE HONORABLE ALFRED H. BENNETT:

        The counsel of record, James Stafford, files this Unopposed Motion to Appear by

Telephone, and would respectfully show unto the Court the following

                                                 I.

        Yavonne Hand is charged by Superceding Indictment with Count 1: Conspiracy to

Commit Wire Fraud and Health Care Fraud in violation of 18 U.S.C. § 1349; Count 2-6: Health

Care Fraud in violation of 18 U.S.C. § 1347 and 2; and Count 7-12: Money Laundering in

violation of 18 U.S.C. § 1957 and 2. A status conference is currently set Friday, December 13,

2024 @ 10:00 a.m.

                                                 II.

        Undersigned counsel was contacted by Thomas Mattison, Ms. Hand’s U.S. Department of

Veteran Affairs Social Worker/Healthcare for Reentry Veterans (HCRV) Specialist. He stated that

Ms. Hand is currently residing in Virginia but is receiving mental health counseling from the VA

Outpatient Clinic in Conroe, Texas. Mr. Mattison also advised that their program does not have

transportation or housing funding to assist Ms. Hand in returning to Houston for the December 13th

status conference.
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                                                III.

       Due to Ms. Hand’s financial situation and to judicial economy, it is requested that the

December 13th status conference be held by telephone conference to allow Ms. Hand to appear by

telephone and also prevent the Government from traveling from Washington, D.C. and New Orleans,

LA.

       WHEREFORE, PREMISES CONSIDERED, the defense counsel prays that this Motion be

granted and all allow all parties to appear by telephone.

                                              Respectfully submitted,

                                              /s/ James Stafford
                                              JAMES STAFFORD
                                              Texas State Bar No. 18996900
                                              Federal ID No. 5289
                                              National Cash Register Bldg
                                              515 Caroline St.
                                              Houston, Texas 77002
                                              Telephone: 713-228-3600
                                              Fax:        713-223-3933
                                              Email:      info@staffordkeyserbromberg.com
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                                CERTIFICATE OF SERVICE

       I, JAMES STAFFORD, hereby certify that a copy of the foregoing Motion has been

forwarded to ANDREW TAMAYO, Assistant U.S. Attorneys, via the Court's electronic filing

system, on this the 4th day of December, 2024.


                                             /s/ James Stafford
                                             JAMES STAFFORD




                             CERTIFICATE OF CONFERENCE

       This is to certify that the undersigned counsel has consulted with the Assistant U.S.

Attorney in charge of this cause and he is unopposed to the above-requested relief.



                                             /s/ James Stafford
                                             JAMES STAFFORD
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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA                  §
                                          §
v.                                        §      4:20-CR-446
                                          §
YAVONNE HAND                              §

                                         ORDER

        This motion is ____ GRANTED/______ DENIED.

        SIGNED at Houston, Texas, on the ___day of _________, 2024.


                                          ____________________________________
                                          DISTRICT JUDGE ALFRED H. BENNETT
